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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

THE NATIONAL PROPANE GAS                )
ASSOCIATION; and                        )
                                        )                 Case No. 1:08-CV-99 (RWR)
GORHAMS’, INC., d/b/a                   )
NORTHWEST GAS,                          )
                                        )
                   Plaintiffs,          )
                                        )
      vs.                               )
                                        )
U.S. DEPARTMENT OF HOMELAND             )
SECURITY; and                           )
                                        )
The Honorable MICHAEL CHERTOFF, as )
Secretary of the Department of Homeland )
Security,                               )
                                        )
                   Defendants.          )
______________________________________ )

   PLAINTIFFS’ UNOPPOSED MOTION TO SUSPEND THE DEADLINES IN
  THIS CASE, OR IN THE ALTERNATIVE, TO ENLARGE THE DEADLINES

          Pursuant to Fed. R. Civ. P. 6(b)(1), Plaintiffs The National Propane Gas

Association and Gorhams’, Inc. (collectively “NPGA”), respectfully request the Court to

suspend the currently pending deadlines in this case and schedule a status conference

with the parties to be held on or around July 11, 2008. In the alternative, Plaintiffs move

that the Court extend Defendants’ response date to Plaintiffs’ Complaint to July 11, 2008.

          Counsel for Plaintiffs have conferred with counsel for Defendants, who do not

oppose the relief requested in this motion.




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                     STATEMENT OF POINTS AND AUTHORITIES

I.        BACKGROUND

          NPGA commenced this action on January 17, 2008 with the filing of the

Summons and Complaint (Doc. # 1), accompanied by an Application for Temporary

Restraining Order and Preliminary and Permanent Injunction (Doc. # 3). The Court

denied the application for a temporary restraining order and preliminary injunction on

January 20, 2008 (Doc. # 6).

          The case seeks judicial review under the Administrative Procedure Act (“APA”), 5

U.S.C. §§ 701-706, of the Chemical Facility Anti Terrorism Standards (“CFATS”)

promulgated by DHS. 72 Fed. Reg. 17,688 (April 9, 2007); 72 Fed. Reg. 65,396 (Nov.

20, 2007). The CFATS were promulgated by DHS in accordance with Section 550 of the

Department of Homeland Security Appropriations Act, 2007. Pub. L. No. 109-295, 120

Stat. 1355.

          Service upon the United States was effected in accordance with Fed. R. Civ. P.

4(i). Responsive pleadings are due April 7, 2008. Doc. # 7; Fed. R. Civ. P. 12(a)(3)(A).

II.       DISCUSSION

          Fed. R. Civ. P. 6(b)(1) permits the Court to enlarge any period during which an act

is required by the rules to be done “for cause shown.” A motion requesting such an

enlargement of the period is to be submitted “before the expiration of the period

originally prescribed or as extended by a previous order.” Id.




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          Plaintiffs understand that Congress is currently considering legislation relating to

the CFATS. Plaintiffs believe that such legislation, if enacted, may address some of the

claims at issue in this case and may change the legal analysis and briefing required to

address those claims. Moreover, it is Plaintiffs’ belief that such legislation, if enacted,

could potentially render the case moot.

          In the event that any potential legislation is enacted that significantly affects the

CFATS, any motions or briefs filed before any such legislation, if enacted, would likely

need to be revised and refiled afterwards, creating an unnecessary expense and burden for

the parties and the Court. Moreover, because any legislation that may be enacted might

moot Plaintiffs’ case (in whole or in part) or might otherwise affect future proceedings in

this case, briefs or motions filed in the meantime could represent a wholly wasted effort.

          Accordingly, Plaintiffs file this motion to conserve the litigants’ and the Court’s

resources by suspending or delaying all present deadlines in the case to allow the

legislative process to take place. If a change is made that affects the regulations in this

case, the parties would then have an opportunity to evaluate the case in light of it.

          At present, there is one pending deadline in the case. The Defendants’ response to

Plaintiffs’ Complaint is due on April 7, 2008. The parties have not previously requested

any extension of this deadline.

          Plaintiffs respectfully move that the Court suspend the present deadline in the case

and schedule a telephonic status conference with the parties to be held on or about July

11, 2007. At the status conference, the parties could inform the Court of any legislative

developments, and the Court could set any necessary schedules based on that


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information. If the new legislation mooted the case or made further prosecution of the

case unnecessary for the Plaintiffs, then Plaintiffs would consider voluntarily dismissing

its case.

          In the alternative, Plaintiffs move that the Court extend the pending deadline for

Defendants’ response to Plaintiffs’ Complaint to July 11, 2008. To respond to the

Complaint, a highly voluminous Administrative Record must be compiled by DHS,

evaluated by the parties, and submitted to the Clerk’s Office in accordance with Local

Rule 7(n). In addition, an appendix of the relevant sections of the Administrative Record

would have to be reviewed and agreed upon by the parties before a responsive pleading

could be filed.

          A proposed order is attached.

III.      CONCLUSION

          For the reasons stated herein, the Plaintiffs respectfully request that the Court

suspend the deadlines in the case and schedule a telephonic status conference with the

parties to be held on or about July 11, 2007. In the alternative, the Plaintiffs respectfully

request that the Court enlarge Defendants’ deadline to file any responsive pleading to

Plaintiffs’ Complaint by July 11, 2008.

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             RESPECTFULLY SUBMITTED this 14th day of March, 2008.

                                           GALLAGHER & KENNEDY, P.A.



                                           By: /s/Jerald C. Thompson
                                                 Jerald C. Thompson, Applicant
                                                 Pro Hac Vice
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                                                 Phoenix, AZ 85016-9225
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                                                 Facsimile: (602) 530-8500
                                                 Jerry.Thompson@gknet.com




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

THE NATIONAL PROPANE GAS                )
ASSOCIATION; and                        )
                                        )                 Case No. 1:08-CV-99 (RWR)
GORHAMS’, INC.,                         )
d/b/a NORTHWEST GAS,                    )
                                        )
                   Plaintiffs,          )
                                        )
      vs.                               )
                                        )
U.S. DEPARTMENT OF HOMELAND             )
SECURITY; and                           )
                                        )
The Honorable MICHAEL CHERTOFF, as )
Secretary of the Department of Homeland )
Security,                               )
                                        )
                   Defendants.          )
______________________________________ )

                               CERTIFICATE OF SERVICE

          Pursuant to LCvR 5.3, I hereby certify that on March 14, 2008, I caused to be

served on the Defendants’ counsel the foregoing Plaintiffs’ Unopposed Motion to

Suspend the Deadlines in this Case, or in the Alternative, to Enlarge the Deadlines, as

well as a proposed form of Order, via email.

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             RESPECTFULLY SUBMITTED this 14th day of March, 2008.

                                        GALLAGHER & KENNEDY, P.A.



                                        ___/s / Jerald C. Thompson___________
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                                               Pro Hac Vice
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

THE NATIONAL PROPANE GAS                )
ASSOCIATION; and                        )
                                        )                 Case No. 1:08-CV-99 (RWR)
GORHAMS’, INC.,                         )
d/b/a NORTHWEST GAS,                    )
                                        )
                   Plaintiffs,          )
                                        )
      vs.                               )
                                        )
U.S. DEPARTMENT OF HOMELAND             )
SECURITY; and                           )
                                        )
The Honorable MICHAEL CHERTOFF, as )
Secretary of the Department of Homeland )
Security,                               )
                                        )
                   Defendants.          )
______________________________________ )

                                           ORDER

          THE COURT, having considered the Plaintiffs’ Unopposed Motion to Suspend

the Deadlines in this Case, or in the Alternative, to Enlarge the Deadlines, and for cause

shown, hereby

          ORDERS that all proceedings in this matter shall be stayed until further Order of

the Court;




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          FURTHER, a telephonic status conference is to be held at ___________, on

________________, 2008, the call to be initiated by counsel for Plaintiffs.

                          SIGNED this _____ day of March, 2008.



                                          ____________________________________
                                          RICHARD W. ROBERTS
                                          United States District Judge




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